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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

                                                                1:18-cv-04439-JBW-CLP
 ROBERT DOYLE,
                                                                NOTICE OF MOTION
                                               Plaintiff,

                        -against-

 DOUGLAS C. PALMER, in his official capacity as
 Clerk of the United States District Court
 for the Eastern District of New York,

                                               Defendant.


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and all of the

other pleadings and proceedings herein, Plaintiff will, pursuant to Local Civil Rule 6.3 and Rules

60(b)(1) and 60(b)(6) of the Federal Rules of Civil Procedure, move the Court, before Senior Judge

Jack B. Weinstein, in Courtroom 10B South, 225 Cadman Plaza East, Brooklyn, New York 11201

on November 28, 2018, at 9:30 am or as soon thereafter as the parties may be heard, to: (1)

reconsider, and vacate, the Orders dated October 29, 2018 (Dkt. No. 13), and November 1, 2018

(Dkt. No. 15), insofar as the Orders state, respectively and as italicized by the undersigned: “The

court will hear the government’s motion to dismiss the complaint on November 7, 2018 at 11:15

a.m., in courtroom 10B South. [¶] Mr. Robert Doyle shall appear in person with counsel,” and “The

plaintiff’s request for an adjournment is granted. [¶] The hearing will be held on November 19, 2018

at 10:30 a.m. If the named plaintiff does not appear as ordered, the case will be dismissed.”

Dated: November 5, 2018
                                                     Respectfully submitted,

                                                       s/ Todd C. Bank
                                                     TODD C. BANK
                                                      ATTORNEY AT LAW, P.C.
                                                     119-40 Union Turnpike, Fourth Floor
                                                     Kew Gardens, New York 11415
                                                     (718) 520-7125
                                                     By Todd C. Bank

                                                     Counsel to Plaintiff
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 5, 2018, a true and accurate copy of the foregoing
document is being filed electronically via the Court’s electronic-filing (ECF) system. Notice of this
filing will be sent to all parties by operation of the Court’s ECF system and copies will be mailed to
those parties, if any, who are not served via the Court’s ECF system.

Dated: November 5, 2018

                                                               s/ Todd C. Bank
                                                              TODD C. BANK
